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                                I N T H E U NI T E D S T A T E S B A N K R U P T C Y C O U R T
                                         S O U T H E R N DI S T RI C T O F T E X A S
                                                 H O U S T O N DI VI SI O N


                                                                                    B a n kr u pt c y
 I n re
                                                                                    C as e N o. 2 2- 3 3 5 5 3 ( C M L)
 Al e x a n d er E. J o n es,
                                                                                    C h a pt er 1 1
                       D e bt or,

 D a vi d W h e el er, Fr a n ci n e W h e el er, J a c q u eli n e
 B ar d e n, M ar k B ar d e n, Ni c ol e H o c kl e y, I a n H o c kl e y,
                                                                                    A d v. Pr o. N o.: 2 2- 0 3 0 3 7 ( C M L)
 J e n nif er H e ns el, D o n n a S ot o, C arl e e S ot o P arisi,
 C arl os M. S ot o, Jilli a n S ot o- M ari n o, Willi a m
 Al d e n b er g, Willi a m S h erl a c h, R o b ert P ar k er, a n d
 Ri c h ar d M. C o a n, as C h a pt er 7 Tr ust e e f or t h e
 Est at e of Eri c a L aff ert y
                       Pl ai ntiffs,
            v.
 Al e x a n d er E. J o n es a n d Fr e e S p e e c h S yst e ms, L L C,
                       D ef e n d a nts.


          S T A T E M E N T O F U N C O N T E S T E D M A T E RI A L F A C T S I N S U P P O R T O F
                      P L AI N TI F F S ’ M O TI O N F O R S U M M A R Y J U D G M E N T

                     Pl ai ntiffs D a vi d    W h e el er, Fr a n ci n e   W h e el er, J a c q u eli n e B ar d e n,   M ar k B ar d e n,

Ni c ol e H o c kl e y, I a n H o c kl e y, J e n nif er H e ns el, D o n n a S ot o, C arl e e S ot o P arisi, C arl os M. S ot o,

Jilli a n S ot o- M ari n o, Willi a m Al d e n b er g, Willi a m S h erl a c h, R o b ert P ar k er, a n d Ri c h ar d M. C o a n,

as C h a pt er 7 Tr ust e e f or t h e Est at e of Eri c a L aff ert y ( c oll e cti v el y, “ Pl ai ntiffs ”) s u b mit t h e

f oll o wi n g St at e m e nt of U n c o nt est e d     M at eri al F a cts i n s u p p ort of t h eir        M oti o n f or S u m m ar y

J u d g m e nt:

           1.        O n M a y 2 3, 2 0 1 8, t hirt e e n of t h e S a n d y H o o k F a mili es fil e d a c o m p l ai nt i n t h e

J u di ci al Distri ct of F airfi el d at Bri d g e p ort i n C o n n e cti c ut S u p eri or C o urt, c a pti o n e d L aff ert y, et al.

v. J o n es, et al. , U W Y-C V - 1 8- 6 0 4 6 4 3 6-S, a n d assi g n e d t o J u d g e B ar b ar a N. B ellis. S e e E x hi bit
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att a c h e d t o t h e D e cl ar ati o n of Ali n or C. St erli n g ( “ St erli n g E x. ”) 1.

          2.         I n D e c e m b er 2 0 1 8 a n d J a n u ar y 2 0 1 9, t w o s u bst a nti v el y i d e nti c al c o m pl ai nts—

c a pti o n e d S h erl a c h, et al. v. J o n es, et al. , U W Y-C V -1 8 -6 0 4 6 4 3 7 -S a n d S h erl a c h, et al. v. J o n es,

et al. , U W Y-C V -1 8 -6 0 4 6 4 3 8 -S — w er e c o ns oli d at e d wit h t h e fi rst c o m pl ai nt ( c oll e cti v el y, t h e

“ C o n n e cti c ut A cti o n ”). St erli n g E xs. 2, 3.

          3.         T h e C o n n e cti c ut A cti o n w as br o u g ht a g ai nst (i) Al e x J o n es ; (ii) F S S; (iii) v ari o us

a d diti o n al e ntiti es w h oll y o w n e d a n d o p er at e d b y J o n es (I nf o w ars, L L C; I nf o w ars H e alt h, L L C;

a n d Pris o n Pl a n et T V, L L C); a n d (i v) s o m e a d diti o n al d ef e n d a nts n ot r el e v a nt h er e a n d w h o w er e

n ot a p art y t o t h e c as e at t h e ti m e t h e j u d g m e nt w as e nt er e d. St erli n g E x. 4.

          4.         Pl ai ntiffs ass ert e d fi v e c a us es of a cti o n: (i) i n v asi o n of pri v a c y b y f als e li g ht,

(ii) d ef a m ati o n a n d d ef a m ati o n p er s e , (iii) i nt e nti o n al i nfli cti o n of e m oti o n al distr ess,

(i v) n e gli g e nt i nfli cti o n of e m oti o n al distr es s, a n d ( v) vi ol ati o ns of t h e C o n n e cti c ut U nf air Tr a d e

Pr a cti c es A ct ( “ C U T P A ”), c o difi e d at C o n n. G e n. St at. § 4 2 -1 1 0 a et s e q. St erli n g E x. 1.

          5.         O n N o v e m b er 2 1, 2 0 1 8 , J o n es fil e d a s p e ci al m oti o n t o dis miss t h e c as e u n d er

C o n n e cti c ut’s a nti -S L A P P st at ut e, ar g ui n g t h at t h e “ cl ai ms ar e b as e d o n s p e e c h o n a n iss u e of

p u bli c c o n c er n. ” St erli n g E x. 5.

          6.         A m o nt h l at er, t h e C o n n e cti c ut S u p eri or C o urt gr a nt e d li mit e d dis c o v er y t o r es p o n d

t o t h e m oti o n as pr o vi d e d b y t h e a nti-S L A P P st at ut e. St erli n g E x. 6.

          7.         J o n es r esist e d dis c o v er y, r ef us e d t o pr o d u c e b asi c a n al yti cs d at a t h at w o ul d i nf or m

Pl ai ntiffs of d ail y tr affi c fl o ws o n I nf o w ars. c o m a n d its mirr or w e bsit es a n d ot h er si g nifi c a nt

i nf or m ati o n. St erli n g E x. 1 0 .

          8.         T h e li mit e d d o c u m e nts t h at J o n es di d pr o d u c e i n cl u d e d c hil d p or n o gr a p h y. St erli n g

E x. 7 at 2: 2 6 – 3: 7.




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            9.        O n J u n e 1 4, 2 0 1 9, J o n es f als el y cl ai m e d t h at Pl ai ntiffs’ c o u ns el pl a nt e d t h e c hil d

p or n o gr a p h y i n his e m ail a n d off er e d a b o u nt y t o his a u di e n c e f or r etri b uti o n. St erli n g E x. 7 at

3: 2 5 – 4: 1 1 a n d 7: 2 – 5.

            1 0.      O n J u n e 1 8, 2 0 1 9, t h e C o n n e cti c ut tri al c o urt e nt er e d s a n cti o ns a g ai nst J o n es

b e c a us e “t h e dis c o v er y i n t his c as e h as b e e n m ar k e d wit h o bf us c ati o n a n d d el a y o n t h e p art of t h e

d ef e n d a nts, w h o . . . h a v e still n ot f ull y a n d f airl y c o m pli e d wit h t h eir dis c o v er y o bli g ati o ns. ”

St erli n g E x. 7 at 1 : 9– 1 9 . T h e c o urt als o d es cri b e d a n u m b er of “ e x a m pl es w h er e J o n es eit h er

dir e ctl y h ar ass es or i nti mi d at es [ Pl ai ntiffs’] Att or n e y           M att ei ” a n d st at e d t h at “ t h e 2 0-mi n ut e

d eli b er at e tir a d e a n d h ar ass m e nt a n d i nti mi d ati o n a g ai nst Att or n e y             M att ei a n d his fir m i s

u n a c c e pt a bl e a n d s a n cti o n a bl e. A n d t h e C o urt will s a n cti o n h er e. ” St erli n g E x. 7 at 4: 1 4 – 7: 7 a n d

7: 2 7 -8: 3.

            1 1.      T h e c o urt, as a s a n cti o n f or Al e x J o n es’s dis c o v er y mis c o n d u ct, d e ni e d J o n es t h e

o p p ort u nit y t o p urs u e t h e s p e ci a l m oti o n u n d er C o n n e cti c ut’s a nti-S L A P P st at ut e. St erli n g E x. 7

at 8: 4 – 8 .

            1 2.      T h e c o urt f urt h er c a uti o n e d t h at it w o ul d d ef a ult J o n es a n d ot h er d ef e n d a nts “if t h e y

fr o m t his p oi nt f or w ar d c o nti n u e wit h t h eir b e h a vi or wit h r es p e ct t o dis c o v er y. ” St erli n g E x . 7

at 8 : 1 2– 2 3 .

            1 3.      O n J ul y 2 3, 2 0 2 0, t h e C o n n e cti c ut S u pr e m e C o urt affir m e d t his s a n cti o n,

d et er mi ni n g t h at J o n es’s b e h a vi or “ p os e d a n i m mi n e nt a n d li k el y t hr e at t o t h e a d mi nistr ati o n of

j usti c e ” a n d w as “ o n e p art of a w h ol e pi ct ur e of b a d f ait h liti g ati o n mis c o n d u ct. ” St er li n g E x. 8 at

9, 2 7 .

            1 4.      T h e c as e r et ur n e d t o t h e C o n n e cti c ut tri al c o urt i n S e pt e m b er 2 0 2 0. O v er t h e n e xt

t w o y e ars, J o n es c o nti n u e d a cti v el y d ef e n di n g t h e c as e, i n cl u di n g b y d e p osi n g e v er y pl ai ntiff b ut




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o n e. D e cl ar ati o n of Ali n or St erli n g ¶ 1 2.

           1 5.       I n t h e v er y first d e p ositi o n of a pl ai ntiff— a n d e v e n w hil e t h at d e p ositi o n w as

o n g oi n g — J o n es vi ol at e d t h e pr ot e cti v e or d er b y usi n g t esti m o n y d esi g n at e d as “ C o nfi d e nti al -

Att or n e ys E y es O nl y ” as t h e b asis f or a m oti o n t o d e p os e f or m er pr esi d e nti al c a n di d at e Hill ar y

Cl i nt o n. St erli n g E x. 9.

           1 6.       Pl ai ntiffs fil e d a m oti o n f or s a n cti o ns, w hi c h J o n es o p p os e d. T h e C o n n e cti c ut c o urt

st at e d i n its A u g ust 5, 2 0 2 1 or d er t h at J o n es’s o p p ositi o n ar g u m e nt w as “fri g ht e ni n g ” a n d t h at it

h a d “ gr a v e c o n c er ns t h at [ d ef e n d a nts’] a cti o ns, i n t h e f ut ur e, will h a v e a c hilli n g eff e ct o n t h e

t esti m o n y of wit n ess es w h o w o ul d b e ri g htf ull y c o n c er n e d t h at t h eir c o nfi d e nti al i nf or m ati o n,

i n cl u di n g t h eir ps y c hi atri c a n d m e di c al hist ori es, w o ul d b e m a d e a v ail a bl e t o t h e p u bli c. ” St erli n g

E x. 9 at 2 .

           1 7.       O n a n ot h er o c c asi o n, aft er t h e c o urt or d er e d Al e x J o n es a n d F S S t o pr o d u c e tri al

b al a n c es f or F S S, t h e c o urt st at e d i n a n or d er d at e d A u g ust 6, 2 0 2 1: “ T h er e is n o e x c us e f or t h e

d ef e n d a nts’ disr e g ar d of n ot o nl y t h eir dis c o v er y o bli g ati o ns, b ut t h e t w o c o urt or d ers. . . .

S a n cti o ns will b e a d dr ess e d at a f ut ur e h e ari n g. ” St erli n g E x. 1 0 at 1 .

           1 8.       O n a n ot h er o c c asi o n, J o n es a n d F S S f ail e d t o pr o d u c e G o o gl e A n al yti cs d at a i n

vi ol ati o n of m ulti pl e c o urt or d ers. Aft er t h e Pl ai ntiffs fil e d a m oti o n f or s a n cti o ns, St erli n g E x.

1 1, t h e C o n n e cti c ut c o urt f o u n d t h e mis c o n d u ct s a n cti o n a bl e: “ T h e J o n es d ef e n d a nts, h o w e v er,

s e e m t o t a k e t h e p ositi o n t h at t h e r ul es of pr a cti c e d o n ot a p pl y t o t h e m. . . . t h e c o urt will a d dr ess

t h e a p pr o pri at e s a n cti o ns at t h e n e xt st at us c o nf er e n c e. ” St erli n g E x. 12 at 1.

           1 9.       At a h e ari n g o n O ct o b er 2 0, 2 0 2 1, t h e C o n n e cti c ut c o urt i m p os e d s a n cti o ns, h ol di n g

t h at J o n es’s “ b e h a vi or r e all y is u n c o ns ci o n a bl e. ” St erli n g E x. 1 3 at 7 7: 1 8 – 1 9 .

           2 0.       Pl ai ntiffs fil e d a m oti o n f or d ef a ult j u d g m e nt o n O ct o b er 6, 2 0 2 1, w hi c h Al e x J o n es




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a n d F S S a cti v el y o p p os e d. St erli n g E x. 1 4.

           2 1.        I n a r uli n g o n N o v e m b er 1 5, 2 0 2 1, o n t h e r e c or d, t h e c o urt e nt er e d d ef a ult j u d g m e nt

a g ai nst J o n es a n d F S S, fi n di n g t h e m li a bl e f or i n v asi o n of pri v a c y b y f als e li g ht, d ef a m ati o n,

i nt e nti o n al i nfli cti o n of e m oti o n al distr ess, a n d vi ol ati o n of C U T P A. St erli n g E x. 7 4 . Pl ai ntiffs

wit h dr e w t h e n e gli g e nt i nfli cti o n of e m oti o n al distr ess cl ai m d uri n g tri al.           T h e d ef a ult j u d g m e nt

c o n cl usi v el y est a blis h e d f a cts a b o ut J o n es’s k n o wl e d g e a n d i nt e nt t h at w er e all e g e d i n t h e

c o m pl ai nt, i n cl u di n g t h at:

     •     “J o n es d o es n ot i n f a ct b eli e v e t h at t h e S a n d y H o o k S h o oti n g w as a h o a x — a n d h e n e v er
           h as. ”

     •     “J o n es h as d eli b er at el y e m pl o y e d t h es e f als e n arr ati v es a b o ut t h e S a n d y H o o k s h o oti n g,
           t h e vi cti ms, a n d t h eir f a mili es as p art of a m ar k eti n g s c h e m e t h at h as br o u g ht hi m a n d his
           b usi n ess e ntiti es t e ns of milli o ns of d oll ars p er y e ar. ”

     •     “ As a r es ult of J o n es’s c a m p ai g n, t h e f a mili es a n d s ur vi v ors of t h e S a n d y H o o k s h o oti n g
           h a v e b e e n f or c e d t o e n d ur e m ali ci o us a n d cr u el a b us e at t h e h a n ds of r ut hl ess a n d
           u ns cr u p ul o us p e o pl e, ” i n cl u di n g “ p h ysi c al c o nfr o nt ati o n a n d h ar ass m e nt, d e at h t hr e ats,
           a n d a s ust ai n e d b arr a g e of h ar ass m e nt a n d v er b al ass a ult o n s o ci al m e di a. ”

     •     “ J o n es’s o utr ag e o us, cr u el a n d m ali ci o us c o n d u ct w as t h e c a us e of t h e pl ai ntiff ’s distr ess.”

     •     “I n li g ht of [ his] pri or e x p eri e n c e wit h si mil ar s orts of r e c kl ess a n d f als e st at e m e nts, [J o n es]
           k n e w t h at [ his] p u bli c ati o ns c o ul d c a us e t h e pl ai ntiffs t o s uff er h ar ass m e nt a n d p ot e nti al
           vi ol e n c e. ”

     •     J o n es “ u n et hi c all y, o p pr essi v el y, i m m or all y, a n d u ns cr u p ul o usl y d e v el o p e d, pr o p a g at e d,
           a n d diss e mi n at e d o utr a g e o us a n d m ali ci o us li es a b o ut t h e pl ai ntiffs a n d t h eir f a mil y
           m e m b ers, a n d . . . di d s o f or pr ofit. ”

     •     “ I n br o a d c asti n g [ his] c a m p ai g n of o utr a g e o us a n d f als e st at e m e nts a b o ut t h e pl ai ntiffs,
           [J o n es] i nt e n d e d t o i nfli ct e m oti o n al distr ess or k n e w, or s h o ul d h a v e k n o w n, t h at
           e m oti o n al distr ess w as t h e li k el y r es ult of [ his] c o n d u ct. ”

St erli n g E x. 1 at ¶ ¶ 9, 1 1, 1 3 – 1 4, 3 4 1, 3 6 1, 3 7 7, a n d 3 8 6.

           2 2.        T h e c o urt st at e d: “ H er e t h e J o n es d ef e n d a nts w er e n ot j ust c ar el ess. T h eir f ail ur e

t o pr o d u c e criti c al d o c u m e nts, t h eir disr e g ar d f or t h e dis c o v er y pr o c ess a n d pr o c e d ur e a n d f or

C o urt or d ers is a p att er n of o bstr u cti v e c o n d u ct t h at i nt erf er es wit h t h e a bilit y of t h e pl ai ntiffs t o


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c o n d u ct m e a ni n gf ul dis c o v er y a n d pr e v e nts t h e pl ai ntiffs fr o m pr o p erl y pr os e c uti n g t h eir cl ai ms.

. . . T h e pr ej u di c e s uff er e d b y t h e pl ai ntiffs, w h o h a d t h e ri g ht t o c o n d u ct a p pr o pri at e, m e a ni n gf u l

dis c o v er y s o t h e y c o ul d pr os e c ut e t h eir cl ai ms a g ai n, w as c a us e d b y t h e J o n es d ef e n d a nts willf ul

n o n c o m pli a n c e, t h at is, t h e J o n es d ef e n d a nts f ail ur e t o pr o d u c e criti c al m at eri al i nf or m ati o n t h at

t h e pl ai ntiff n e e d e d t o pr o v e t h eir cl ai ms. ” St erli n g E x. 7 4 at 5 6 – 5 7.

              2 3.     F oll o wi n g d ef a ult j u d g m e nt, J o n es a n d t h e ot h er d ef e n d a nts fil e d a n oti c e of

d ef e ns es. St erli n g E x. 1 6.

              2 4.     I n a D e c e m b er 2 4, 2 0 2 1 or d er, t h e c o urt str u c k t h os e d ef e ns es, fi n di n g t h at J o n es

a n d ot h er d ef e n d a nts w er e “ pr o hi bit e d fr o m c o nt esti n g li a bilit y or r aisi n g affir m ati v e d ef e ns es i n

li g ht of t h e dis ci pli n ar y d ef a ult e nt er e d a g ai nst t h e m. T h er ef or e, t h e n oti c e of d ef e ns es is stri c k e n,

a n d t h e c as e will pr o c e e d as a h e ari n g i n d a m a g es as t o t h es e d ef e n d a nts. ” St erli n g E x. 1 7 .

              2 5.     O n S e pt e m b er 1 3, 2 0 2 2, f oll o wi n g t h e d ef a ult j u d g m e nt, t h e C o n n e cti c ut A cti o n

pr o c e e d e d t o a tri al o n d a m a g es, i n w hi c h J o n es a n d his c o u ns el p arti ci p at e d. St erli n g E x. 2 2 at 8 .

T h e t esti m o n y of t w e nt y-fi v e wit n ess es w as pr es e nt e d, i n cl u di n g J o n es; Britt a n y P a z, F S S’s

d esi g n e e; a n d F S S c urr e nt a n d f or m er e m pl o y e es D a vi d J o n es, R o b D e w, Ti m Fr u g e, J os h u a

O w e ns, R o b ert J a c o bs o n, a n d J a c o b A c ost a.          E a c h Pl ai ntiff t estifi e d.      4 0 5 f ull e x hi bits w er e

e nt er e d i n e vi d e n c e. D e cl ar ati o n of Ali n or St erli n g ¶ 2 3.

              2 6.     O n S e pt e m b er 2 2, 2 0 2 2, t h e s e v e nt h d a y of tri al, Pl ai ntiffs c all e d J o n es t o t h e st a n d.

J o n es a d mitt e d t h at h e “s ai d it l o o k e d li k e R o b bi e P ar k er w as a cti n g. ” St erli n g E x. 3 5 at 3 7: 8 – 1 0 .

H e f urt h er a d mitt e d t o m o c ki n g Pl ai ntiff R o b ert P ar k er b e c a us e h e t h o u g ht P ar k er’s vi d e o “l o o k e d

f a k e. ”     St erli n g E x. 7 8 at 8: 6 – 1 0.      H e t estifi e d t h at “ of [ his] m a n y, m a n y, m a n y, milli o ns of

a u di e n c e m e m b ers, . . . m a n y of t h e m b eli e v e w h at [ h e] s a y[s] . ” St erli n g E x. 7 8 at 9: 2 4 -1 0: 7.

D uri n g his t esti m o n y, t h e c o urt t hr e at e n e d J o n es wit h c o nt e m pt. W hil e o n t h e st a n d, J o n es w as




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as k e d: “[I]f s o m e o n e w er e t o f als el y cl ai m t h at a gr o u p of f a mili es w h o h a v e l ost l o v e d o n es w er e

a ct ors a n d h a d f a k e d t h e d e at hs of t h eir l o v e d o n es, t h at w o ul d b e a h orri bl e t hi n g t o s a y, c orr e ct ? ”

H e r es p o n d e d, “I n t h e c o nt e xt, it c o ul d b e, y es. ” St erli n g E x. 3 5 at 3 8: 7 – 1 1. J o n es a d mitt e d t h at

a vi d e o criti c al of Pl ai ntiff Al d e n b er g, a n d f e at uri n g his i m a g e, w as p ost e d t o J o n es’s w e bsit e

d uri n g t h e tri al , e v e n aft er J o n es h a d h e ar d Al d e n b er g t estif y a b o ut t h e t hr e ats a n d h ar ass m e nt h e’ d

r e c ei v e d as a r es ult of J o n es’s pri or att a c ks. St erli n g E x. 7 7 at 4 1: 1 6 -4 4: 1 4 . W h e n it w as J o n es’s

t ur n t o pr es e nt e vi d e n c e, h e c all e d n o wit n ess es a n d c h os e n ot t o t estif y o n dir e ct. J o n es’s c o u ns el

pl a y e d o nl y o n e vi d e o, w hi c h w as alr e a d y i n e vi d e n c e, a n d r est e d. D e cl ar ati o n of Ali n or St erli n g

¶ 2 4.

           2 7.       F oll o wi n g t h e cl os e of e vi d e n c e, t h e c o urt i nstr u ct e d t h e j ur y o n O ct o b er 7, 2 0 2 2 t o

“ a w ar d t h os e d a m a g es [t h e y] fi n d t o h a v e b e e n pr o v e n b y a pr e p o n d er a n c e of t h e e vi d e n c e[.] ” T h e

c o urt f urt h er i nstr u ct e d t h at, i n a d diti o n t o c o m p e ns at or y d a m a g es, c o m m o n l a w “[ p] u niti v e

d a m a g es m a y b e a w ar d e d if y o u fi n d t h at t h e d ef e n d a nts’ a cti o ns i n t his c as e w er e willf ul[,] w a nt o n

or m ali ci o us. ” St erli n g E x. 1 8 at 2 3 – 2 4 .

           2 8.       I n t h e j ur y c h ar g e c o n c er ni n g d ef a m ati o n d a m a g es, t h e c o urt e x pl ai n e d t h at J o n es

w as li a bl e f or d ef a m ati o n p er s e , w hi c h is d ef a m ati o n fr o m st at e m e nts “ c o nsi d er e d t o b e s o h ar mf ul

i n a n d of t h e ms el v es t h at t h e p ers o n t o w h o m t h e y r el at e is e ntitl e d t o r e c o v er g e n er al d a m a g es f or

i nj ur y t o r e p ut ati o n wit h o ut pr o vi n g t h at a n y s p e ci al or a ct u al d a m a g es w er e c a us e d b y t h e

st at e m e nts. ” St erli n g E x. 1 8 at 1 4. T h e tri al c o urt e x pl ai n e d t h at J o n es w as li a bl e f or d ef a m ati o n

p er s e , a n d d es cri b e d J o n es’s c o n d u ct as n e c ess aril y c a usi n g h ar m: “[I] n t his c as e, t h e c o urt h as

d et er mi n e d t h at t h e d ef e n d a nts d ef a m e d t h e pl ai ntiffs b y a c c usi n g t h e m of f a ki n g t h eir c hil dr e n’s

d e at h, b ei n g crisis a ct ors, a n d fr a u d ul e ntl y misr e pr es e nti n g t h e ms el v es t o t h e p u bli c at l ar g e. T h e

l a w pr es u m es t h at t h er e is i nj ur y t o t h e pl ai ntiffs’ r e p ut ati o ns. ” St erli n g E x. 1 8 at 2 1 . T h e tri al




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c o urt als o c h ar g e d t h at: “[I]t h as b e e n est a blis h e d i n t his c as e t h at t h e d ef e n d a nts pr o xi m at el y

c a us e d h ar m t o t h e pl ai ntiffs b y s pr e a di n g li es a b o ut t h e pl ai ntiffs t o t h eir a u di e n c e a n d t h e p u bli c

a n d b y ur gi n g t h eir a u di e n c e a n d t h e p u bli c t o i n v esti g at e a n d l o o k i nt o t h e pl ai ntiffs a n d t o st o p

p e o pl e s u p p os e dl y b e hi n d t h e S a n d y H o o k h o a x, r es ulti n g i n m e m b ers of t h e of d ef e n d a nts’

a u di e n c e a n d t h e p u bli c c y b erst al ki n g, att a c ki n g, h ar assi n g a n d t hr e at e ni n g t h e pl ai ntiffs, as y o u

h a v e h e ar d i n t h e e vi d e n c e i n t his c as e. ” St erli n g E x. 1 8 at 1 5 .

             2 9.     T h e c o urt c h ar g e d t h e j ur y t h at it c o ul d a w ar d “s u bst a nti al d a m a g es ” f or d e f a m ati o n

if “s u bst a nti al h ar m ” h a d b e e n d o n e t o t h e pl ai ntiffs’ r e p ut ati o n. St erli n g E x. 1 8 at 2 2.

             3 0.     I n its dis c ussi o n of “ e m oti o n al distr ess d a m a g es, ” t h e c o urt e x pl ai n e d t o t h e j ur y

t h at J o n es w as li a bl e f or II E D b as e d o n d et er mi n ati o ns t h at J o n es “i nt e n de d t o i nfli ct e m oti o n al

distr ess or . . . k n e w or s h o ul d h a v e k n o w n t h at e m oti o n al distr ess w as t h e li k el y r es ult of [ his]

c o n d u ct, ” a n d t h at J o n es’s c o n d u ct w as “ e xtr e m e a n d o utr a g e o us. ” St erli n g E x. 1 8 at 1 2.

             3 1.     O n O ct o b er 1 2, 2 0 2 2, t h e j ur y r e n d er e d a v er di ct ass essi n g d a m a g es a g ai nst J o n es

a n d F S S. St erli n g E x. 1 9 .

             3 2.     T h e v er di ct f or m r efl e ct e d t h at t h e j ur y a w ar d e d Pl ai ntiffs t w o t y p es of

c o m p e ns at or y d a m a g es: (i) d ef a m ati o n d a m a g es a n d (ii) e m oti o n al distr ess d a m a g es. St erli n g E x.

1 9 at 2 .

             3 3.      Aft er r e c e i vi n g t his c h ar g e a n d c o nsi d eri n g t h e e vi d e n c e, t h e j ur y r et ur n e d a

v er di ct a w ar di n g Pl ai ntiffs $ 4 0 3, 6 0 0, 0 0 0 i n d ef a m ati o n d a m a g es. St erli n g E x. 1 9 .

             3 4.     T h e j ur y als o a w ar d e d e m oti o n al distr ess d a m a g es of $ 5 6 1, 4 0 0, 0 0 0.               St erli n g

E x. 1 9 .

             3 5.     T h e c o urt c h ar g e d t h e j ur y t h at J o n es w as li a bl e f or vi ol ati n g C U T P A b e c a us e his

“ b usi n ess c o n d u ct w as pr e di c at e d o n d a m a gi n g t h e pl ai ntiffs a n d w as i m m or al, u n et hi c al,




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o p pr essi v e, or u ns cr u p ul o us, ” a n d i nstr u ct e d t h at C U T P A d a m a g es w er e “i n cl u d e d i n t h e ot h er

d a m a g es m e as ur es ” d es cri b e d i n t h e c h ar g e. St erli n g E x. 1 8.

          3 6.       T h e j ur y a w ar d e d Pl ai ntiffs $ 9 6 5 milli o n i n c o m p e ns at or y d a m a g es. T h e j ur y als o

f o u n d t h at Pl ai ntiffs w er e e ntitl e d t o c o m m o n l a w p u niti v e d a m a g es, w hi c h i n C o n n e cti c ut ar e

c a p p e d at att or n e ys’ f e es a n d c ost s. St erli n g E x. 1 9 at 1 7.

          3 7.       O n O ct o b er 2 1, 2 0 2 2, Al e x J o n es a n d F S S m o v e d t o s et asi d e t h e v er di ct a n d f or

r e mittit ur t o r e d u c e t h e j ur y’s ass ess m e nt of d a m a g es. T h at s a m e d a y, t h e p arti es b e g a n bri efi n g

t h e iss u e of C U T P A p u niti v e d a m a g es, w hi c h ar e d et er mi n e d b y t h e c o urt u n d er t h e st at ut e.

          3 8.       O n O ct o b er 2 8, 2 0 2 2, Al e x J o n es a n d F S S o p p os e d t h e a w ar d of p u niti v e d a m a g es

u n d er C U T P A. St erli n g E x. 2 1.

          3 9.       O n N o v e m b er 1 0, 2 0 2 2, t h e c o urt iss u e d a 4 5 -p a g e o pi ni o n ass essi n g c o m m o n l a w

p u niti v e d a m a g es a n d C U T P A p u niti v e d a m a g es. St erli n g E x. 2 2.

          4 0.       T h e c o urt ass ess e d a p pr o xi m at el y $ 3 2 2 milli o n i n c o m m o n l a w p u niti v e d a m a g es,

r ej e cti n g Al e x J o n es’s ar g u m e nts t h at f ull c o m m o n l a w p u niti v e d a m a g es s h o ul d n ot b e a w ar d e d,

a n d f ull y c o m p e ns at e d Pl ai ntiffs’ att or n e ys’ f e es a n d c osts ( att or n e ys’ f e es a n d c osts ar e t h e

m e as ur e of c o m m o n l a w p u niti v e d a m a g es u n d er C o n n e cti c ut l a w). St erli n g E x. 2 2 at 2 0.

          4 1.       As t o C U T P A p u niti v e d a m a g es — d et er mi n e d b y t h e c o urt u n d er C o n n e cti c ut

l a w— t h e C o n n e cti c ut c o urt st at e d t h at it h a d ass ess e d a n u m b er of f a ct ors, i n cl u di n g (i) t h e d e gr e e

of r el ati v e bl a m e w ort hi n ess, i. e., w h et h er t h e d ef e n d a nt’s c o n d u ct w as r e c kl ess, i nt e nti o n al, or

m ali ci o us; (ii) w h et h er t h e d ef e n d a nt’s a cti o n w as t a k e n or o mitt e d t o a u g m e nt pr ofit; (iii) w h et h er

t h e wr on g d oi n g w as h ar d t o d et e ct; (i v) w h et h er t h e i nj ur y a n d c o m p e ns at or y d a m a g es w as s m all,

pr o vi di n g a l o w i n c e nti v e t o bri n g t h e a cti o n; a n d ( v) w h et h er t h e a w ar d will d et er t h e d ef e n d a nt

a n d ot h ers fr o m si mil ar c o n d u ct. St erli n g E x. 2 2 at 2 9 – 3 0.




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           4 2.       I n its dis c ussi o n of t h e first a n d “ m ost i m p ort a nt c o nsi d er ati o n ” — t h e “ d e gr e es o[f]

r el ati v e bl a m e w ort hi n ess ”— t h e c o urt h el d t h at J o n es’s c o n d u ct w as n ot m er el y “r e c kl ess. ”

St erli n g E x. 2 2 at 4 3.

           4 3.       T h e c o urt c o nti n u e d: “ T h e r e c or d cl e arl y s u p p orts t h e pl ai ntiffs’ ar g u m e nt t h at t h e

d ef e n d a nts’ c o n d u ct w as i nt e nti o n al a n d m ali ci o us, a n d c ert ai n t o c a us e h ar m b y virt u e of t h eir

i nfr astr u ct ur e, a bilit y t o s pr e a d c o nt e nt, a n d m assi v e a u di e n c e i n cl u di n g t h e ‘i nf o w arri ors.’ T h e

r e c or d als o est a blis h es t h at t he d ef e n d a nts r e p e at e d t h e c o n d u ct a n d att a c ks o n t h e pl ai ntiffs f or

n e arl y a d e c a d e, i n cl u di n g d uri n g t h e tri al — w a nt o n, m ali ci o us, a n d h ei n o us c o n d u ct t h at c a us e d

h ar m t o t h e pl ai ntiffs. T his d e pr a vit y, a n d cr u el, p ersist e nt c o urs e of c o n d u ct b y t h e d ef e n d a nts

est a blis h es t h e hi g h est d e gr e e of r e pr e h e nsi bilit y a n d bl a m e w ort hi n ess. ” St erli n g E x. 2 2 at 4 4.

           4 4.       T h e c o urt f urt h er h el d t h at pl ai ntiffs h a d cl e arl y est a blis h e d t h at d ef e n d a nts’

c o n d u ct w as     m oti v at e d b y pr ofit a n d t h at “ d ef e n d a nts’ c o n c e al m e nt of t h eir c o n d u ct a n d

wr o n g d oi n g . . . milit at es i n f a v or of a s u bst a nti al a w ar d of p u niti v e d a m a g es. ” St erli n g E x. 2 2 at

4 1. T h e c o urt st at e d: “ [ P]l ai ntiffs cl e arl y est a blis h e d t h at t h e d ef e n d a nts’ c o n d u ct w as m oti v at e d

b y pr ofit, b y virt u e of t h e c o n vi n ci n g e v i d e n c e i n cl u di n g t h e t e xt m ess a g es b et w e e n Al e x J o n es

a n d Ti m Fr u g e r e g ar di n g d ail y s al es fi g ur es, t h e b usi n ess m o d el us e d b y t h e d ef e n d a nts w h er e b y

t h e y e m ul at e d c o nt e nt i n cl u di n g S a n d y H o o k c o nt e nt t o r e a p m or e pr ofits, t h e e x p ert t esti m o n y of

Cli nt W att s t h at J o n es’ us e of S a n d y H o o k e n g a g e d t h e a u di e n c e a n d dr o v e u p s al es a n d pr ofit, t h e

s pi k es i n s al es r e v e n u e f oll o wi n g t h e arti cl e ‘ F BI S a ys N o O n e Kill e d at S a n d y H o o k,’ a n d t h eir

us e of t h e pl ai ntiffs e v e n d uri n g t h e tri al t o m a k e m o n e y. ” St erli n g E x. 2 2 at 4 0 – 4 1.

           4 5.       T h e c o urt als o d es cri b e d “t h e m a g nit u d e of t h e i nj uri es ” a n d h el d t h at t h e “tri al

r e c or d est a blis h es t h at t h e d ef e n d a nts r e m ai n i n t h e u ni q u e p ositi o n of h a vi n g — a n d c o nti n ui n g t o

utili z e — a n i m m e ns e m e di a pl atf or m a n d a u di e n c e t o c o nti n u e t o t ar g et t h e pl ai ntiffs, as w ell as




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m o c ki n g t h e pl ai ntiffs’ att or n e ys, t h e c o urt, a n d t h e v er y j ur y t h at t h e y s el e ct e d. It is, q uit e si m pl y,

u n pr e c e d e nt e d i n A m eri c a n j uris pr u d e n c e. ” St erli n g E x. 2 2 at 4 2.

           4 6.       T h e c o urt als o h el d t h at t h e d et err e nt eff e ct of p u niti v e d a m a g es f a v or e d a n a w ar d

of C U T P A p u niti v e d a m a g es. St erli n g E x. 2 2 at 4 2 – 4 3 .

           4 7.       B as e d o n t h es e f a ct u al fi n di n gs, t h e c o urt a w ar d e d $ 1 0 milli o n i n C U T P A p u niti v e

d a m a g es t o e a c h of t h e 1 5 pl ai ntiffs i n t h e C o n n e cti c ut A cti o n, f or a t ot al of $ 1 5 0 mill i o n. St erli n g

E x. 2 2 at 4 4 – 4 5 .

           4 8.       O n D e c e m b er 2 2, 2 0 2 2, t h e c o urt d e ni e d a m oti o n b y J o n es a n d t h e ot h er d ef e n d a nts

f or a n e w tri al a n d r e mittit ur, h ol di n g t h at “t h e e vi d e n c e of t h e d e v ast ati n g h ar m c a us e d t o t h e

pl ai ntiffs t hr o u g h t h e d ef e n d a nts’ c o nti n u e d us e of t h eir b usi n ess pl atf or m t o s pr e a d li es t o a

m assi v e a u di e n c e cl e arl y s u p p orts t h e v er di cts, a n d t h at t h e v er di cts ar e wit hi n t h e li mits of a f air

a n d j ust a w ar d of d a m a g es. ” St erli n g E x. 2 3 at 5.

           4 9.       O n D e c e m b er 2 9, 2 0 2 2, J o n es a n d ot h er d ef e n d a nts fil e d a n a p p e al, w hi c h is

c urr e ntl y p e n di n g. St erli n g E x. 2 4.

           5 0.       As a r es ult of t h e j ur y’s d a m a g es v er di ct, J o n es o w es d e bts t o t h e S a n d y H o o k

F a mili es f or c o m p e ns at or y, c o m m o n l a w p u niti v e, a n d st at ut or y p u niti v e d a m a g es i n t h e t ot al

a m o u nt of $ 1, 4 3 8, 1 3 9, 5 5 5. 9 4 (t h e “ C o n n e cti c ut J u d g m e nt ”).            T he     C o n n e cti c ut J u d g m e nt

c o m pris es 1 5 s e p ar at e d e bts o w e d t o t h e 1 5 diff er e nt Pl ai ntiff cr e dit ors, as r efl e ct e d i n t h e

f oll o wi n g t a bl e.




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                                                                        Co m mon La w                     C UTP A
                                           C o m p e ns at o r y
            Pl ai ntiffs                                                    P u niti v e                  P u niti v e                   T ot al
                                               D a m a g es
                                                                           D a m a g es                  D a m a g es
R o b ert P ar k er                       $ 1 2 0, 0 0 0, 0 0 0        $ 4 0, 0 9 9, 3 0 4         $ 1 0, 0 0 0, 0 0 0          $ 1 7 0, 0 9 9, 3 0 4
D a vi d W h e el er                      $ 5 5, 0 0 0, 0 0 0          $ 1 8, 4 2 9, 3 0 4         $ 1 0, 0 0 0, 0 0 0          $ 8 3, 4 2 9, 3 0 4
Fr a n ci n e W h e el er                 $ 5 4, 0 0 0, 0 0 0          $ 1 8, 0 9 9, 3 0 4         $ 1 0, 0 0 0, 0 0 0          $ 8 2, 0 9 9, 3 0 4
J a c q u eli n e B ar d e n              $ 2 8, 8 0 0, 0 0 0          $ 9, 6 9 9, 3 0 4           $ 1 0, 0 0 0, 0 0 0          $ 4 8, 4 9 9, 3 0 4
M ar k B ar d e n                         $ 5 7, 6 0 0, 0 0 0          $ 1 9, 2 9 9, 3 0 4         $ 1 0, 0 0 0, 0 0 0          $ 8 6, 8 9 9, 3 0 4
Ni c ol e H o c kl e y                    $ 7 3, 6 0 0, 0 0 0          $ 2 4, 6 2 9, 3 0 4         $ 1 0, 0 0 0, 0 0 0          $ 1 0 8, 2 2 9, 3 0 4
I a n H o c kl e y                        $ 8 1, 6 0 0, 0 0 0          $ 2 7, 2 9 9, 3 0 4         $ 1 0, 0 0 0, 0 0 0          $ 1 1 8, 8 9 9, 3 0 4
J e n nif er H e ns el                    $ 5 2, 0 0 0, 0 0 0          $ 1 7, 4 2 9, 3 0 4         $ 1 0, 0 0 0, 0 0 0          $ 7 9, 4 2 9, 3 0 4
D o n n a S ot o                          $ 4 8, 0 0 0, 0 0 0          $ 1 6, 0 9 9, 3 0 4         $ 1 0, 0 0 0, 0 0 0          $ 7 4, 0 9 9, 3 0 4
C arl e e S ot o P arisi                  $ 6 6, 0 0 0, 0 0 0          $ 2 2, 0 9 9, 3 0 4         $ 1 0, 0 0 0, 0 0 0          $ 9 8, 0 9 9, 3 0 4
C arl os M. S ot o                        $ 5 7, 6 0 0, 0 0 0          $ 1 9, 2 9 9, 3 0 4         $ 1 0, 0 0 0, 0 0 0          $ 8 6, 8 9 9, 3 0 4
Jilli a n S ot o-M ari n o                $ 6 8, 8 0 0, 0 0 0          $ 2 3, 0 2 9, 3 0 4         $ 1 0, 0 0 0, 0 0 0          $ 1 0 1, 8 2 9, 3 0 4
Willi a m Al d e n b er g                 $ 9 0, 0 0 0, 0 0 0          $ 3 0, 0 9 9, 3 0 4         $ 1 0, 0 0 0, 0 0 0          $ 1 3 0, 0 9 9, 3 0 4
Ri c h ar d M. C o a n, c h a pt er 7
tr ust e e f or t h e est at e of
Eri c a L aff ert y                       $ 7 6, 0 0 0, 0 0 0          $ 2 5, 4 2 9, 3 0 4         $ 1 0, 0 0 0, 0 0 0          $ 1 1 1, 4 2 9, 3 0 4
Willi a m S h erl a c h                   $ 3 6, 0 0 0, 0 0 0          $ 1 2, 0 9 9, 3 0 4         $ 1 0, 0 0 0, 0 0 0          $ 5 8, 0 9 9, 3 0 4
                             T OT AL      $ 9 6 5, 0 0 0, 0 0 0        $ 3 2 3, 1 3 9, 5 5 6       $ 1 5 0, 0 0 0, 0 0 0        $ 1, 4 3 8, 1 3 9, 5 5 6

               5 1.        I n a d diti o n t o t h e f or e g oi n g, t h e r e c or d i n t h e C o n n e cti c ut a cti o n est a blis h e d t h e

    f oll o wi n g f a cts.

               5 2.        Al e x J o n es is a s u p pl e m e nt s al es m a n w h o r esi d es i n A usti n, T e x as . St erli n g

    E x. 1 ¶ 3 0.

               5 3.        Al e x J o n es o w ns, o p er at es, a n d c o ntr ols t h e                 w e bsit es I nf o w ars. c o m a n d

    Pris o n Pl a n et T V. c o m, a n d ot h er w e bsit es, a n d h e is t h e st ar of “ T h e Al e x J o n es S h o w. ” St erli n g

    E x. 1 ¶ 3 0.

               5 4.        J o n es’s t a gli n e o n I nf o w ars w as “ t h e fr o ntli n e of tr ut h j o ur n alis m, ” St erli n g E x. 6 6,

    a n d I nf o w ars w as m ar k et e d as “ t h e H o us e t h at Tr ut h B uilt.” St erli n g E x. 6 5 .

               5 5.        At t h e ti m e of t h e S a n d y H o o k s h o oti n g, J o n es w as br o a d c asti n g vi a I nf o w ars. c o m

    t o a n a u di e n c e of “t e ns of milli o ns of list e n ers a n d vi e w ers e a c h m o nt h, ” St erli n g E x. 6 5, o n 1 5 0

    n ati o n all y s y n di c at e d r a di o st ati o ns, St erli n g E x. 6 7 , a n d s yst e m ati c all y r e-p osti n g c o nt e nt t o

    Y o u T u b e, T witt er, a n d F a c e b o o k t hr o u g h m ulti pl e a c c o u nts.          St erli n g E x. 2 7 at 5 5: 2 1 – 5 6: 6


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( Britt n e y P a z t estif yi n g t h at it w as t h e d ef e n d a nts’ pr a cti c e t o u pl o a d e v er y cli p pr o d u c e d fr o m t h e

Al e x J o n es s h o w t o e v er y o nli n e pl atf or m t h e y c o ntr oll e d, i n cl u di n g F a c e b o o k, T witt e r, a n d

Y o u T u b e); St erli n g E x. 3 0 at 7 6: 1 5 – 1 9; ( Britt n e y P a z r es p o n di n g “ri g ht ” t o q u esti o n, “[ a] n d all of

t h e c o nt e nt t h at Fr e e S p e e c h S yst e ms p us h es o ut, … g o es t o all of t h es e s o ci al m e di a pl atf or ms,

ri g ht ? ”).

           5 6.           J o n es’s i nfr astr u ct ur e at t h e ti m e of t h e S a n d y H o o k s h o oti n g all o w e d hi m t o

e n g a g e a n a u di e n c e of 4 9 milli o n us ers o n his w e bsit e. St erli n g E x. 3 1 at 9 9 :1 – 1 0 0: 2 4:

           Q. B ut c a n w e g o t o g o o gl e a n al yti cs a n d s h o w t h e j ur y t h e a n al yti cs fr o m 2 0 1 2 . .
              . [ S] o s essi o ns is s o m e m e as ur e m e nt of h o w w ell t he y’r e d oi n g wit h t h eir
              a u di e n c e, or e n g a gi n g t h eir a u di e n c e ?
           A      Y es. T h at’s t h e n u m b er of ti m es a us er c o m es t o t h e w e bsit e.
           Q      All ri g ht. I’ m g oi n g t o n e e d t his – s o w e’r e o n 2 0 1 2. . . . S o s essi o ns, I’ m g oi n g
                  t o tr y – I’ll writ e l ar g e h er e s o . . . 2 0 1 2 s essi o ns, 1 1 9, 1 0 7, 0 5 8 . . . Is t h at
                  c orr e ct ?
           A      Y es.
           Q      O k a y. N o w w e h a v e s o m et hi n g c all e d us ers. A n d t h at is 4 9, 0 2 9, 3 1 3.
           A      C orr e ct . . .
           Q      O k a y. N o w t his w as f or t h e m ost p art, t his is t h e i nfr astr u ct ur e t h at w as i n pl a c e
                  at t h e ti m e of t h e S a n d y H o o k s h o oti n g o n D e c e m b er 1 4, 2 0 1 2. Is t h at c orr e ct ?
           A      Y es.
           Q      S o c a n y o u j ust, as s o m e b o d y w h o st u di e d n et w or ks a n d s p h er es of i nfl u e n c e.
                  C a n y o u j ust d es cri b e t o t h e j ur y t h e s c al e of w h at w e’r e t al ki n g a b o ut.
           A      It’s e xtr e m el y l ar g e. C o m p ar e d t o ot h er or g a ni zati o ns or e ntiti es t h at I’ v e
                  l o o k e d at, t o a c hi e v e – I t hi n k t h e mi d dl e n u m b er is t h e o n e t o f o c us o n, t h e 4 9
                  milli o n. T o a c hi e v e 4 9 milli o n us ers i n a n y gi v e n y e ar is a m assi v e a u di e n c e.
           5 7.           B et w e e n 2 0 1 2 – 2 0 1 8, Al e x J o n es’s br o a d c asts a b o ut S a n d y H o o k s e c ur e d a n

a bs ol ut e mi ni m u m of 5 5 0 milli o n i m pr essi o ns o n s o ci al m e di a al o n e. S e e St erli n g E x. 3 2 at 1 6: 2 0 –

1 7: 2:

           A      A d di n g t o g et h er Y o u T u b e, T witt er a n d t h e F a c e b o o k c al c ul ati o n t o g et h er j ust
                  r el at e d t o li es a b o ut S a n d y H o o k, t h e mi ni m u m a u di e n c e t h at w e c o ul d m e as ur e
                  w as 5 5 0 milli o n off j ust s o ci al m e di a. T h at d o es n’t i n cl u d e a n y – a n y i n di vi d u als
                  t h at w er e g oi n g str ai g ht t o t h e w e bsit e.


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           Q      N o I nf o W ars,      n o Pris o n Pl a n et, n ot r a di o, n o ot h er a v e n u es of g etti n g t h e
                  i nf or m ati o n ?
           A      C orr e ct.
           Q      O k a y. A n d t h e ti m e p eri o d of t h at w as b et w e e n w h at ?
           A      2 0 1 2 t o 2 0 1 8.
           5 8.        D a vi d J o n es, Al e x J o n es ’s f at h er, h as t estifi e d t h at: “ o ur c ust o m ers ar e s o l o y al t o

us t h at t h e y b eli e v e i n w h at w e ’r e d oi n g t o s u c h a d e gr e e t h at if w e s a y s o m et hi n g is g o o d f or y o u

a n d is a g o o d v al u e t h e y ’r e g oi n g t o b u y it a n d b u y a l ot of it.” St erli n g E x. 6 9 at 3 0: 2 1 – 3 0: 2 4 ;

St erli n g E x. 1 ¶ ¶ 9 3 – 9 4.

           5 9.        W h e n J o n es att a c ks s o m e o n e or s o m et hi n g, h e i nt e n ds his a u di e n c e t o att a c k t o o.

           6 0.        F or e x a m pl e, o n J u n e 1 2, 2 0 1 7, J o n es br o a d c ast a vi d e o i n w hi c h h e st at e d : “ I a m

a pr e cisi o n g ui d e d h e a v y m u niti o n, c o mi n g i n o n t o p of y o u. I ’m h er e t o st a n d u p f or t h e i n n o c e nts.

I d o n’t li k e y o u. I d o n’t li k e y o u g etti n g a w a y wit h w h at y o u d o. Y o u m a k e m e si c k. S o, I hit t h e

b ar b e d wir e, a n d e v er y b o d y els e c o m es i n o v er m e. ” St erli n g E x. 5 7 ; s e e als o St erli n g E x. 7 0

(J o n es: “ S o d o n ’t e v er as d ar k as t h e h o ur is, a n d as o ut of c o ntr ol t hi n gs ar e, d o n ’t y o u e v er n ot

r e ali z e h o w i m p ort a nt y o u ar e a n d w h at y o u’v e d o n e wit h y o ur w or d of m o ut h a n d y o ur a cti o n.

A n d I ’m t al k i n g t o p e o pl e t h at w e nt t o t h at p u p p et c o urt h o us e i n C o n n e cti c ut a n d p ut I nf o w ars

sti c k ers u p e v er y w h er e. W e c o m m e n d y o u! ” ); St erli n g E x. 4 7 (J o n es s p e a ki n g o n air t o M att h e w

Mills, I nf o w ars f oll o w er w h o gr a b b e d mi c at S u p er b o wl a n d r e p e at e d J o n es ’ li es a b o ut 9/ 1 1 b ei n g

a n “ i nsi d e j o b” : “ I m e a n y o u’r e r e all y d oi n g a gr e at j o b a n d y o u’r e a n ot h er e x a m pl e of h o w w e’r e

g o n n a d ef e at t h e e n e m y if p e o pl e j ust r e ali z e t h e y ar e t h e f ut ur e, t h e y ar e t h e r esist a n c e. I m e a n,

a n y b o d y c a n d o t his, f ol ks if y o u j ust d e ci d e t o gr o w s o m e g uts a n d t a k e a cti o n. ” ); St erli n g E x. 5 4

at 0 0: 0 3: 3 0 ( D a n Bi d o n di f oll o wi n g a n d t elli n g offi ci als aft er F OI A h e ari n g: “ T h e S a n d y H o o k

tr ut h is c o mi n g o ut. Y o u p e o pl e ar e g oi n g t o j ail. Y o u c a n s mil e all y o u w a nt, y o u ’r e g oi n g t o j ail

f or fr a u d. Pl ai n a n d si m pl e.” ); St erli n g E x. 1 ¶ ¶ 4 1 – 5 7.



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           6 1.       O n D e c e m b er 1 4, 2 0 1 2, a y o u n g m a n s h ot his w a y i nt o S a n d y H o o k El e m e nt ar y

S c h o ol wit h a s e mi -a ut o m ati c B us h m ast er X M 1 5 -E 2 S rifl e, a n d i n l ess t h a n fi v e mi n ut es, h e kill e d

2 0 first-gr a d e c hil dr e n a n d si x a d ults w hil e w o u n di n g t w o ot h ers.

           6 2.       H o urs aft er t h e s h o oti n g, J o n es p u blis h e d h e a dli n es st ati n g t h at, a c c or di n g t o

“ wit n ess es, ” t h e s h o oti n g w as a “ f als e fl a g.” St erli n g E x. 4 4 ( vi d e o “ C o n n e cti c ut S c h o ol M ass a cr e

L o o ks Li k e F als e Fl a g S a ys Wit n ess es, ” fr o m 1 2/ 1 4/ 1 2 s h o w).

           6 3.       F S S h as si n c e a d mitt e d t h at t h er e w er e n o wit n ess es w h o s ai d t h e s h o oti n g w as a

f als e fl a g. St erli n g E x. 2 7 at 5 9: 3 – 1 1. F S S f urt h er a d mitt e d t h at it h a d “ n ot d o n e a n y i n v esti g ati o n

o n t h e cir c u mst a n c es s urr o u n di n g t h e ” s h o oti n g a n d t h at J o n es’s st at e m e nts t o his a u di e n c e t h at h e

h as “ d o n e d e e p r es e ar c h ” ar e “ n ot a c c ur at e. ” St erli n g E x. 7 5 5: 1 9 -2 6.

           6 4.       T h e d a y aft er t h e s h o oti n g, Pl ai ntiff R o b ert P ar k er m a d e a pr ess st at e m e nt t o t h a n k

all t h os e w h o h a d r e a c h e d o ut t o his f a mil y, t o r e m e m b er his si x-y e ar ol d d a u g ht er E mili e, a n d t o

e x pr ess his f o r gi v e n ess t o t h e s h o ot er’s f a mil y. St erli n g E x. 7 1 .

           6 5.       O n D e c e m b er 1 9, 2 0 1 2, J o n es p u blis h e d a n arti cl e titl e d “ F at h er of S a n d y H o o k

Vi cti m As ks ‘R e a d t h e C ar d ? ’ S e c o n ds B ef or e T e ar -J er ki n g Pr ess C o nf er e n c e, ” w hi c h cl ai m e d

t h at Mr. P ar k er h a d r e a d off a c ar d at t his pr ess c o nf er e n c e. St erli n g E x. 5 9 . T h e arti cl e i n cl u d e d

a st at e m e nt fr o m J o n es: “It a p p e ars t h at m e m b ers of t h e m e di a or g o v er n m e nt h a v e gi v e n hi m a

c ar d a n d ar e t elli n g hi m w h at t o s a y as t h e y s t e er r e a cti o n t o t his e v e nt, s o t his n e e ds t o b e l o o k e d

i nt o. ” St erli n g E x. 5 9.

           6 6.       O n J a n u ar y 2 7, 2 0 1 3, J o n es p ost e d a vi d e o o n his Y o u T u b e c h a n n el titl e d “ W h y

P e o pl e T hi n k S a n d y H o o k is A H o a x. ” I n t h e vi d e o, J o n es cl ai m e d t h at t h e s h o oti n g “ w as a st a g e d

e v e nt ” d u e i n p art t o “ w h at a p p e ars t o b e p e o pl e w h o ’v e b e e n c o a c h e d, p e o pl e w h o h a v e b e e n

gi v e n c u e c ar ds, p e o pl e w h o ar e b e h a vi n g li k e a ct ors. ” St erli n g E x. 7 9 . J o n es t h e n pl a y e d a vi d e o




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of Mr. P ar k er ’s st at e m e nt t h e d a y aft er t h e s h o oti n g.

          6 7.       As t h e vi d e o of Mr. P ar k er pl a y e d, J o n es c o m m e nt e d t h at “ I h a v e n’t t o u c h e d t his,”

a n d t h at “ all I k n o w is t h e y ’r e s ei zi n g o n it. T h e y st a g e d f ast a n d f uri o us. . . . O ur g o v er n m e nt, t o

bl a m e t h e S e c o n d A m e n d m e nt, t h e y ’d st a g e a n yt hi n g. ” St erli n g E x. 4 6 . J o n es c o nti n u e d: “ T his

n e e ds t o b e i n v esti g at e d. T h e y ’r e cl e arl y usi n g t his t o g o aft er o ur g u ns.” St erli n g E x. 8 0 ; St erli n g

E x. 1 ¶ ¶ 1 1 1 – 1 1 7.

          6 8.       O n J a n u ar y 2 9, 2 0 1 3, L e o n ar d P o z n er — t h e f at h er of a S a n d y H o o k s h o oti n g vi cti m

a n d a pl ai ntiff i n c as es br o u g ht i n T e x as — e m ail e d J o n es t o e x pl ai n t h e h ar m J o n es ’s c o m m e nts

w er e c a usi n g a n d as k e d hi m t o st o p : “ Al e x, I a m v er y dis a p p oi nt e d t o s e e h o w m a n y p e o pl e ar e

dir e cti n g m or e a n g er at f a mili es t h at l ost t h eir c hil dr e n i n N e wt o w n. A c c usi n g us of b ei n g a ct ors

. . . . H a v e n ’t w e h a d o ur s h ar e of p ai n a n d s uff eri n g ?            All t h es e a c c us ati o ns of g o v er n m e nt

i n v ol v e m e nt, f als e fl a g t err or, n e w w orl d or d er et c. I us e d t o e nj o y list e ni n g t o y o ur s h o ws pri or

t o 1 2-1 4 -1 2. N o w I f e el t h at y o ur t y p e of s h o w cr e at e d t h es e h at ef ul p e o pl e a n d t h e y n e e d t o b e

r e el e d i n!” St erli n g E x. 6 1 . O n A pril 9, 2 0 1 3, J o n es a g ai n t ol d his a u di e n c e t h at S a n d y H o o k w as

st a g e d, st ati n g, “ a n d I’ll t ell y o u ri g ht n o w, t h er e’s — it’s o p e n a n d s h ut. It’s a g o v er n m e nt

o p er ati o n at t h e m o vi e t h e at er. N o d o u bt . . . . S a n d y H o o k, it’s g ot i nsi d e j o b writt e n all o v er

it. ” St erli n g E x. 8 1 . I n N o v e m b er 2 0 1 3, t h e C o n n e cti c ut St at e’s Att or n e y G e n er al p u blis h e d a n

e x h a usti v e r e p ort of t h e S a n d y H o o k s h o oti n g, w hi c h a g ai n g a v e li e t o a n y n oti o n t h at t h e S a n d y

H o o k s h o oti n g w as a h o a x. St erli n g E x. 8 3 .

          6 9.       I n a M a y 1 3, 2 0 1 4 vi d e o o n Y o u T u b e titl e d “ B o m bs h ell: S a n d y H o o k M ass a cr e

W as A D H S Ill usi o n S a ys S c h o ol S af et y E x p ert, ” J o n es f e at ur e d          S a n d y H o o k d e ni er W olf g a n g

H al bi g a n d st at e d, “ Y o u’r e s a yi n g a m oti v e f or t h e l o c als t o g o al o n g wit h t h e fr a u d is m o n e y. ”

St erli n g E x. 8 2 . J o n es c o nti n u e d t h at, “it’s f a k e . . . it’s f a k e . . . y o u’ v e g ot p ar e nts a cti n g . . . it




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is j ust t h e f a k est t hi n g si n c e t h e t hr e e-d oll ar bill. ” I n t his s a m e “i nt er vi e w ” wit h H al bi g, J o n es

pl a y e d a vi d e o of Pl ai ntiff R o b ert P ar k er at t h e D e c e m b er 1 5, 2 0 1 2 pr ess c o nf er e n c e, a n d st at e d:

“ I m e a n, it’s f a k e! Bl u e s cr e e ns, it’s f a k e! . . . Y o u g ot p ar e nts l a u g hi n g [ m o c ki n g l a u g hi n g],

‘ W at c h t his,’ a n d t h e n [ m o c ki n g cr yi n g] m et h o d a cti ng [ m o c ki n g cr yi n g a n d w aili n g], ‘ O h, m y

c hil d!’ I m e a n, it’s j ust ri di c ul o us! Y o u’ v e g ot c or o n ers t h at st art l a u g hi n g — a n d I d o n’t m e a n

u n c o mf ort a bl y, I     m e a n li k e l a u g hi n g — wit h t h e St at e P oli c e          w h e n t h e y’r e gi vi n g pr ess

c o nf er e n c es. ” St erli n g E x. 8 2 .

           7 0.       O n S e pt e m b er 2 4, 2 0 1 4 , J o n es p u blis h e d a n arti cl e o n his w e bsit e, I nf o w ars. c o m,

titl e d “ F BI S a ys N o O n e Kill e d at S a n d y H o o k, ” w hi c h d es cri b e d t h e s h o oti n g as a “ c ar ef ull y -

s cri pt e d f als e fl a g e v e nt .” St erli n g E x. 6 0 .

           7 1.       T his arti cl e dr o v e n e w s o ci al m e di a tr affi c, r es ulti n g i n l ar g e i n cr e as es i n visits a n d

p a g e vi e ws t o I nf o w ars. c o m. St erli n g E x. 6 2.

           7 2.       F S S m o nit or e d a u di e n c e e n g a g e m e nt wit h t his arti cl e — as J o n es g e n er all y di d —

a n d cir c ul at e d s cr e e ns h ots of a n al yti cs d at a f or I nf o w ars . St erli n g E x. 6 2 ( a n al yti cs s h o wi n g s pi k es

i n visits a n d p a g e vi e ws t o I nf o w ars. c o m d u e t o t his arti cl e); St erli n g E x. 6 3 ( a n al yti cs s h o wi n g

s pi k e i n d ail y s o ci al m e di a s essi o ns fr o m 1 3 1, 3 9 1 o n 9/ 2 3 t o 1, 1 8 5, 3 0 7 o n 9/ 2 5, a n d t h e s pi k e i n

visit ors c o mi n g t o I nf o w ars. c o m fr o m s o ci al m e di a) ; St erli n g E x. 2 9 at 2 6: 2 4 – 4 9: 1 4 ( P a z t estif yi n g

c o n c er ni n g t h es e s pi k es) ; St erli n g E x. 6 8 . J o n es p ers o n all y f o c us e d o n his st or e’s p erf or m a n c e

aft er e a c h br o a d c ast, a n d J o n es s o u g ht t o “ e m ul at e s pi k es ” b y r e p e ati n g a n d g e n er ati n g si mil ar

c o nt e nt. St erli n g E x. 6 9 at 3 5: 2 1 -3 6: 1.




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          7 3.       T h e i n cr e as e i n a u di e n c e e n g a g e m e nt l e d t o i n cr e as e d s al es r e v e n u e i n t h e

f oll o wi n g d a ys. St erli n g E x. 6 8 :




          7 4.       T hr o u g h o ut t h e y e ars f oll o wi n g t h e s h o oti n g, J o n es as k e d f or a n d r e c ei v e d s al es

n u m b ers o n a d ail y b asis, pr o vi di n g hi m a d et ail e d l o o k i nt o h o w his li es dr o v e w e bsit e tr affi c a n d

pr ofits . St erli n g E x. 7 3 .

          7 5.       Pl ai ntiffs ’ e x p ert Cli nt o n      W atts e x pl ai n e d t h at J o n es e x pl oit e d t h e S a n d y H o o k

s h o oti n g wit h m ess a gi n g b as e d i n f e ar a n d a n g er t o cr e at e e n g a g e m e nt wit h his a u di e n c e d esi g n e d

t o bri n g m or e s al es o v er ti m e. St erli n g E x. 3 1 at 8 7 :1 5 – 2 1, 1 0 6: 2 5 – 1 0 8: 2 0 .

          7 6.       O n D e c e m b er 2 8, 2 0 1 4, d uri n g his r a di o s h o w, J o n es t o o k a c all fr o m a list e n er

n a m e K e vi n w h o cl ai m e d t o li v e cl os e t o N e wt o w n, C o n n e cti c ut. J o n es t ol d K e vi n, “ [t]h e w h ol e

t hi n g is a gi a nt h o a x. . . .T h e g e n er al p u bli c d o es n ’t k n o w t h e s c h o ol w as a ct u all y cl os e d t h e y e ar

b ef or e . . . T h e y d o n’t k n o w t h e y’v e s e al e d it all, d e m olis h e d t h e b uil di n g. T h e y d o n ’t k n o w t h at

t h e y h a d t h e ki ds g oi n g i n cir cl es i n a n d o ut of t h e b uil di n g as a p h ot o-o p.          Bl u e s cr e e n, gr e e n

s cr e e ns, t h e y g ot c a u g ht usi n g. ” H e st at e d t h at “t h e w h ol e t hi n g w as f a k e ” a n d c o n cl u d e d, “ I di d

d e e p r es e ar c h — a n d m y g os h, it j ust pr ett y m u c h di d n ’t h a p p e n.” St erli n g E x. 5 2 ; St erli n g E x. 1


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¶ ¶ 1 7 1 – 1 7 6.

            7 7.      B et w e e n A pril 8, 2 0 1 3 a n d O ct o b er 4, 2 0 2 1, Al e x J o n es dis c uss e d t h e S a n d y H o o k

s h o oti n g o n hi s r a di o s h o w o v er 1 0 0 ti m es. St erli n g E x. 5 8 (list of br o a d c asts i n w hi c h J o n es

dis c uss e d S a n d y H o o k, b ut f or w hi c h d ef e n d a nts di d n ot pr o d u c e vi d e os). T h e f ull r e a c h of t h e

d ef e n d a nts’ li es c o ul d n ot b e d et er mi n e d b e c a us e of i nf or m ati o n t h at t h e d ef e n d a nts f ail e d t o

pr o d u c e. St erli n g E x. 3 2 at 2: 5 – 8: 2 5 at 2 -8 ( W atts d es cri bi n g c at e g ori es of missi n g d at a).

            7 8.      O n J a n u ar y 1 3, 2 0 1 5, d uri n g a br o a d c ast of T h e Al e x J o n es R a di o S h o w, Al e x J o n es

pr o cl ai m e d:    “ Y e a h, s o, S a n d y H o o k is a s y nt h eti c c o m pl et el y f a k e wit h a ct ors, i n m y vi e w,

m a n uf a ct ur e d. ” St erli n g E x. 5 3 ; St erli n g E x. 1 ¶ ¶ 1 8 5 – 1 8 6.

            7 9.      I n D e c e m b er 2 0 1 5, I nf o w ars C hi ef E dit or P a ul W ats o n t ol d J o n es t h at, “ T his S a n d y

H o o k st uff is killi n g us. It ’s pr o m ot e d b y t h e m ost b ats hit cr a z y p e o pl e li k e R e ns e a n d F et z er w h o

all h at e us a n y w a y. Pl us it m a k es us l o o k r e all y b a d t o ali g n wit h p e o pl e w h o h ar ass t h e p ar e nts

of d e a d ki ds. ” St erli n g E x. 6 4 .

            8 0.      O n N o v e m b er 1 8, 2 0 1 6, d uri n g a n I nf o w ars br o a d c ast, J o n es st at e d, “ t h e o nl y

pr o bl e m is I ’v e w at c h e d a l ot of s o a p o p er as a n d I ’v e s e e n a ct ors b ef or e, a n d I k n o w w h e n I ’m

w at c hi n g a m o vi e a n d w h e n I ’m w at c hi n g s o m et hi n g r e al. L et ’s l o o k i nt o S a n d y H o o k. ” St erli n g

E x. 5 6.

            8 1.      As r e c e ntl y as S e pt e m b er 2 9, 2 0 2 2, J o n es t ol d his a u di e n c e, “ n o w t h at I ’v e s e e n t h e

tri al’s ri g g ed, a n d h o w it all l o o ks, I m e a n — it’s d efi nit el y— t h e w h ol e t hi n g’s d e e p st at e, t h at ’s all

I c a n s a y. S o, I t hi n k t h e p u bli c’s ori gi n al i nsti n ct a b o ut it w as ri g ht. I d o n ’t k n o w w h at r e all y

h a p p e n e d t h er e, b ut it is, it is s y nt h eti c as h ell. ” St erli n g E x. 7 2 . J o n es h as r e p e at e dl y cl ai m e d t h at

Pl ai ntiffs ’ gri ef is e vi d e n c e of t h eir “ a cti n g. ” S e e, e. g. , St erli n g E x. 4 6 (J o n es m o c ki n g R o b bi e

P ar k er: “ A n d w h e n y o u w at c h t h e f o ot a g e, I k n o w gri e vi n g p ar e nts d o str a n g e t hi n gs b ut h e – it




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l o o ks li k e h e’s s a yi n g ‘o k a y d o I r e a d off t h e c ar d ’ h e ’s l a u g hi n g, a n d t h e n h e g o es o v er a n d st arts

u m b asi c all y br e a ki n g d o w n a n d cr yi n g. S o l et ’s s h o w t h at cli p.” ); St erli n g E x. 4 8 (J o n es: “ y o u

g ot p ar e nts l a u g hi n g g oi n g ‘h a h a h a w at c h t his ’ a n d t h e n t h e y ’r e g oi n g [i mit ati n g f a k e cr yi n g]

m et h o d a cti n g [i mit ati n g f a k e cr yi n g] I m e a n it ’s j ust ri di c ul o us ” ); St erli n g E x. 5 0 (J o n es: “ If

y o u ’v e g ot a s c h o ol of a h u n dr e d ki ds a n d t h e n n o b o d y c a n fi n d t h e m, a n d t h e n y o u g ot p ar e nts

l a u g hi n g g oi n g ‘h a h a h a ’ a n d t h e n t h e y w al k o v er a n d s e e t h e c a m er a a n d g o [f a k e cr yi n g], a n d I

m e a n n ot j ust o n e b ut a b u n c h of p ar e nts d oi n g t his, a n d t h e n p h ot os of ki ds t h at ar e still ali v e t h e y

s ai d di e d. I m e a n t h e y t hi n k w e ’r e s o d u m b t h at it’s – it’s r e all y hi d d e n i n pl ai n vi e w. ” ); St erli n g

E x. 5 1 (J o n es: “ w h e n I j ust s a w t h e h e a v y, h e a v y, h e a v y s cri pti n g, t h at w as w h at w as s o cl e ar a n d

t h e n t h e p ar e nts l a u g hi n g a n d t h e n o n e s e c o n d l at er d oi n g t h e a ct or br e at hi n g t o cr y, I m e a n it’s

j ust it’s – it’s j ust o v er t h e t o p. ” ); St erli n g E x. 5 5 (J o n es: [f a k e s o bs a n d m a k es a g est ur e as if

wi pi n g a w a y t e ars] “ I m e a n h e ’s a w ors e a ct or t h a n Gl e n n B e c k, w h e n Gl e n n B e c k ’s f a k e cr yi n g.

O k a y ? I m e a n t his is dis g usti n g.” [ S h o ws f o ot a g e of R o b bi e P ar k er at t h e pr ess c o nf er e n c e].).

           8 2.       Pl ai ntiff M ar k B ar d e n — w h os e s o n D a ni el w as kill e d i n t h e s h o oti n g — t estifi e d t h at

t h e “ li e g oi n g o n ar o u n d [ hi m] a b o ut [] b ei n g a n a ct or[,] a b o ut S a n d y H o o k b ei n g a st a g e d e v e nt,

a b o ut D a ni el b ei n g a fr a u d a n d n e v er e xist e d ” w as “ h ar d er b e y o n d w h at w e c o ul d e v er i m a gi n e

tr yi n g t o d e al wit h, tr yi n g t o d e al wit h t h e f a ct t h at o ur littl e b o y h a d j ust b e e n s h ot t o d e at h i n his

first gr a d e cl assr o o m a n d h o w t o lit er all y m a n a g e o n e mi n ut e t o t h e n e xt, lik e lit er all y m a n a g e

fr o m o n e mi n ut e t o t h e n e xt a n d t h e n als o still b e p ar e nts t o [ his s ur vi vi n g c hil dr e n] a n d still b e

str o n g f or t h e m a n d still gi v e t h e m s o m e s e ns e of n or m al c y i n w h at w e di d n ’t u n d erst a n d.” St erli n g

E x. 4 2 at 2 1: 1 2 – 2 3: 7.

           8 3.       Pl ai ntiff J e n n if er H e ns el t estifi e d: “ I d o n’t t hi n k y o u h e al fr o m s o m et hi n g li k e t his.

I t hi n k y o u f or e v er h ol d gri ef a n d y o u r e b uil d s o m e j o y b a c k i nt o y o ur lif e, a n d it b al a n c es. A n d




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s o m e d a ys, o n ot h er d a ys, o n e t a k es o v er t h e ot h er a n d t h e ot h er d a ys t h e gri ef is j ust s o a wf ul.

T h e n y o u a d d o n t h e i d e a t h at p e o pl e t hi n k t h at y o u m a d e all t his u p f or m o n e y, or t h at y o ur c hil d

di d n ’t e xist— t h at c o m p o u n ds e v er yt hi n g o n t o p of a n yt hi n g y o u d o, a n d y o u c a n’t— I c o ul d n’t

w or k. I writ e f or a li vi n g, a n d I c o ul d n ’t f or m s e nt e n c es.” St erli n g E x. 3 4 at 3 0: 2 7 – 3 1: 1 0.

           8 4.       As a r es ult of J o n es ’s i nt e nti o n al c o n d u ct, t h e S a n d y H o o k F a mili es e n d ur e d, o n a

r e g ul ar b asis, p h ysi c al c o nfr o nt ati o n a n d h ar ass m e nt, d e at h t hr e ats, a n d a s ust ai n e d b arr a g e of

v er b al ass a ult o n s o ci al m e di a.

           8 5.       Pl ai ntiff R o b ert P ar k er t estifi e d h o w t h e h ar ass m e nt h e a n d his f a mil y s uff er e d

“ w o ul d c o m e i n t h es e w a v es, a n d it w as al m ost li k e I k n e w w h e n Al e x J o n es h a d s ai d s o m et hi n g,

b e c a us e w e w o ul d g et a h u g e w a v e of st uff. ” St erli n g E x. 3 9 at 2 4: 1 4 – 2 5: 4 .

           8 6.       Pl ai ntiff Willi a m Al d e n b er g t estifi e d t h at p e o pl e s ai d h e w as “ n ot a r e al F BI a g e nt ”

a n d “ a n a ct or. ” St erli n g E x. 2 5 at 4 7: 2 1 – 4 8: 4 .

           8 7.       Pl ai ntiff Eri c a L aff ert y r e c ei v e d a l ett er st ati n g t h at s h e “ s h o ul d di e, a n d t h e n b e

b uri e d n e xt t o [ h er] f a k e, d e a d m ot h er, ” a n d s h e r e c ei v e d r a p e t hr e ats. St erli n g E x. 3 3 at 1 7: 2 5 –

1 8: 1 5, 2 1: 1 3 – 1 8.

           8 8.       Pl ai ntiffs Fr a n ci n e a n d D a vi d W h e el er r e c ei v e d d e at h t hr e ats at t h eir c hil d ’s f u n er al

a n d i ntr u d ers l at er i n v a d e d t h eir h o m e a n d “ d e m a n d e d t o s e e ” t h eir s o n B e n, s a yi n g, “ I k n o w h e’s

h er e. I k n o w h e ’s ali v e. ” St erli n g E x. 4 1 at 2 6: 1 0 – 2 0; St erli n g E x. 7 5 at 3 2: 1 7 – 3 3: 1 . Pl ai ntiff

D a vi d W h e el er f urt h er t estifi e d t h at “ aft er t h e s h o c k of . . . B e n’s m ur d er . . . I f elt li k e I w as u n d er

w at er a n d I di d n’t k n o w — I di d n’t k n o w w hi c h w a y w as u p. ” St erli n g E x. 7 6 at 2 8: 2 5 – 2 9: 8.

           8 9.       Pl ai ntiff M ar k B ar d e n t estifi e d t h at h e w as “ g etti n g l ett ers i n o ur m ail b o x a n d

st art e d s e ei n g t hi n gs o nli n e t h at w er e cl e arl y d e at h t hr e ats . . . [ W] e w er e s h ari n g t hi n gs wit h t h e

F BI.     W e w er e s h ari n g t hi n gs wit h N e wt o w n P oli c e D e p art m e nt li k e w h at is t his a n d it l o o k e d




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s c ar y a n d d a n g er o us. ” St erl i n g E x. 4 2 at 2 3: 1 1 – 2 4: 3.

           9 0.       F BI a g e nt Pl ai ntiff Willi a m Al d e n b er g t estifi e d t o r e c ei vi n g “ vi ol e nt, t hr e at e ni n g

m ess a g es. ” St erli n g E x. 2 5 at 5 2: 7 – 5 3: 2 1.

           9 1.       Pl ai ntiff I a n H o c kl e y — f at h er of si x-y e ar -ol d D yl a n — t estifi e d t h at s o m e o n e l eft o n

his wi n ds hi el d a c ar d s h o wi n g Pl ai ntiff R o b ert P ar k er p ur p ort e dl y l a u g hi n g.         St erli n g E x. 3 6 at

6: 2 3 – 9: 3.

           9 2.       Pl ai ntiff C arl e e S ot o P arisi — w h os e sist er Vi ct ori a, a t e a c h er, w as kill e d i n t h e

S a n d y H o o k s h o oti n g tr yi n g t o pr ot e ct h er st u d e nts fr o m t h e s h o ot er — t estifi e d a b o ut h o w t h e h o a x

p e n etr at e d h er o w n c o m m u nit y: “ I w as h a n gi n g o ut wit h s o m e fri e n ds a n d o n e of t h e girls I w as

h a n gi n g o ut wit h s ai d, y o u k n o w, t his girl t h at w e w e nt t o s c h o ol wit h, s h e t hi n ks t h at it w as all a

h o a x, s h e d o es n ’t b eli e v e y o u— a n d I w e nt t o s c h o ol wit h t his girl, w e w e nt t o s c h o ol fr o m mi d dl e

s c h o ol o n, t o g et h er.   A n d s h e di d n ’t b eli e v e t h at I h a d a sist er t h at di e d. S h e t h o u g ht I w as a n

a ctr ess. A n d I j ust c o ul d n ’t wr a p m y h e a d ar o u n d t h at.” St erli n g E x. 2 6 at 2 5: 1 5 – 2 6.

           9 3.       Pl ai ntiff M ar k B ar d e n, f at h er of D a ni el , t estifi e d t h at h e d el et e d his m usi c w e bsit e

“ b e c a us e t his h at ef ul st uff t hr e at e ni n g st uff, d a n g er o us st uff w as c o mi n g i n s o j ust s h ut it off. ”

St erli n g E x. 4 2 at 2 3 :6 – 7 .

           9 4.       Pl ai ntiff Fr a n ci n e W h e el er — m ot h er of B e n — t estifi e d t h at o nli n e h ar ass ers “ t o o k

m y vi d e os, a n d m y w or k of 2 0 y e ars, a n d t h e y d o ct or e d t h e m, a n d t h e y m a d e f u n of t h e m, a n d

t h e y s ai d, l o o k, s e e, s h e’s a n a ct or.   A n d t h e y t o o k — t h e y t o o k m y i d e ntit y.” St erli n g E x. 4 1 at

3 7: 9 – 1 7.

           9 5.       Pl ai ntiff C arl os M. S ot o — Vi ct ori a S ot o ’s br ot h er— t estifi e d t o o nli n e c o m m e nts

“ s a yi n g t h at I w as n ’t r e al. S a yi n g t h at [ Vi ct ori a] w as n’t r e al.      A n d t h at m y f a mil y w as n’t r e al.”

H e st at e d t h at “ [ a] n yti m e t h er e’s a n ot h er s h o oti n g, or a n yti m e s o m e o n e s a ys s o m et hi n g, o ur s o ci al




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m e di as ar e fl o o d e d wit h a n ot h er b at c h of c o m m e nts. ” St erli n g E x. 4 0 at 1 4: 8 – 1 6: 1 2.

           9 6.       Pl ai ntiff R o b ert P ar k er t estifi e d t o h ar ass m e nt o n his d a u g ht er E mili e ’s m e m ori al

p a g e: “ [ W] e h a d ei g ht p eo pl e t h at w e h a d all o w e d t o b e a d mi nistr at ors o n t h e [ E mili e m e m ori al]

p a g e, w h o j ust s p e nt as m u c h fr e e ti m e as t h e y c o ul d r e p ort -b a n -d el et e, r e p ort b a n -d el et e, r e p ort -

b a n -d el et e — tr yi n g t o g et ri d of t h e st uff, j ust tr yi n g t o g et it f ar e n o u g h d o w n o n t h e p a g e s o t h at

if a n y b o d y c a m e t o t h e p a g e, t h e first t hi n g t h e y w o ul d s e e w as s o m et hi n g a b o ut E mili e a n d n ot

all of t his filt h. T h e n b y t h e mi d dl e of J a n u ar y, I fi n all y j ust t ur n e d t h e p a g e off. I c o ul d n ’t— I

c o ul d n ’t— I f elt li k e I c o ul d n’t pr ot e ct E mili e’s n a m e or h er m e m or y a n y m or e. S o, I h a d t o g et ri d

of it .” St erli n g E x. 3 9 at 1 2: 1 1 – 1 3: 2 5.

           9 7.       Pl ai ntiff I a n H o c kl e y t estifi e d t o h ar ass m e nt o n his m e m ori al vi d e os f or his s o n: “ I

c a n ’t r e m e m b er all t h e c o m m e nts t h at t h at is w h at t h at vi d e o st art e d t o attr act is p e o pl e s a yi n g t his

m ust b e f a k e. H e ’s a n a ct or. H e ’s s mili n g . . . All t h os e t hi n gs st art e d t o a p p e ar u ntil w e t o o k o ur

vi d e o d o w n. ” St erli n g E x. 3 7 at 3 3: 1 7 – 3 4: 6.

           9 8.       Pl ai ntiff J e n nif er H e ns el — w h os e d a u g ht er A vi ell e w as kill e d i n t h e S a n d y H o o k

s h o oti n g— t estifi e d t o t h e att a c k o n h er f a mil y t hr o u g h t h e A vi ell e F o u n d ati o n: “ [ F]ilt eri n g i n

w er e p e o pl e w h o w er e att a c ki n g o ur i d e a a n d att a c ki n g us as a ct ors, a n d t elli n g us t h at A vi ell e

di d n ’t e xist a n d t h at w e [ w er e] j ust tr yi n g t o g et m o n e y fr o m t h e p u bli c— a n d h o w d ar e w e d o

s o m et hi n g li k e t h at.” St erli n g E x. 3 4 at 2 8: 2 – 6.

           9 9.       Pl ai ntiff Ni c ol e H o c kl e y — w h os e s o n D yl a n           w as kill e d i n t h e S a n d y H o o k

s h o oti n g— t estifi e d t h at s h e b o u g ht a h o us e “ t h at is p ur p os ef ull y e x p os e d, s o y o u c a n’t g et n e ar

m y h o us e wit h o ut s o m e o n e els e i n t h e n ei g h b or h o o d s e ei n g y o u fr o m a n y a n gl e. I h a v e s e c urit y

li g hts t hr o u g h o ut t h e w h ol e e xt eri or of t h e h o us e.” St erli n g E x. 3 8 at 2 3: 1 5 – 2 7: 1 5.

           1 0 0.     Pl ai ntiff     M ar k    B ar d e n t estifi e d:    “ I h a v e d e v el o p e d a l a y er of c o nst a nt




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h y p er vi gil a n c e, a n d it ’s e x h a usti n g. It i nt erf er es wit h y o ur sl e e p, it i nt erf er es wit h y o ur c o ns ci o us,

it i nt erf er es wit h y o ur t hi n ki n g, y o ur a bilit y t o pr o c ess.” St erli n g E x. 4 3 at 1 9: 1 9 – 2 0: 2 4.

          1 0 1.     Pl ai ntiff R o b ert P ar k er t estifi e d t h at h e m o v e d a w a y fr o m N e wt o w n, b ut t h e m o v e

di d n ot pr ot e ct his f a mil y: “ [ W] e w er e n’t e v e n h alf w a y t hr o u g h t h e r e m o d el o n t his n e w h o us e,

a n d I s e e t his vi d e o o n Y o u T u b e of all of t h e c o u nt y d o c u m e nts a b o ut t h e s al e of o ur h o us e — h o w

m u c h it c ost, t h e a d dr ess, a n d t h e p ers o n g oi n g t hr o u g h all of t h at a n d f oll o wi n g — b asi c all y,

f oll o wi n g o ur st e ps a n d t h e st e ps of t his h o us e a n d e v er yt hi n g. S o, i m m e di at el y, t h at s e ns e of

s e c urit y t h at I t h o u g ht t h at w e h a d w as t ot all y s h att er e d. ” St erli n g E x. 3 9 at 1 8: 2 0 – 2 0: 4.

          1 0 2.     T hr e e d ef a m ati o n l a ws uits h a v e als o b e e n fil e d i n T e x as a g ai nst J o n es a n d F S S

b as e d o n t h e s a m e u n d erl yi n g f a cts b y ot h er p ar e nts of c hil dr e n kill e d i n t h e S a n d y H o o k s h o oti n g.

N eil H esli n i niti at e d t h e a cti o n H esli n v. J o n es, et al. , C as e N o. D-1 -G N -1 8 -0 0 1 8 3 5, i n t h e 2 6 1st

J u di ci al Distri ct C o urt of Tr a vis C o u nt y, T e x as (t h e “ H esli n A cti o n ” ). S c arl ett L e wis i niti at e d t h e

a cti o n L e wis v. J o n es, et al. , C as e N o. D-1 -G N -1 8 -0 0 6 6 2 3, i n t h e 9 8t h J u di ci al Distri ct C o urt of

Tr a vis C o u nt y, T e x as, w hi c h         w as s u bs e q u e ntl y c o ns oli d at e d     wit h t h e     H esli n   A cti o n (t h e

“ H esli n/ L e wis A cti o n ” ). L e o n ar d P o z n er a n d V er o ni q u e D e L a R os a i niti at e d t h e a cti o n P oz n er

v. J o n es, et al. , C as e N o. D-1 -G N -1 8 -0 0 1 8 4 2, i n t h e 3 4 5t h J u di ci al Distri ct C o urt of Tr a vis

C o u nt y, T e x as (t h e “ P o z n er/ D e L a R os a A cti o n ” ).

          1 0 3.     O n A u g ust 5, 2 0 2 2, i n t h e c o ns oli d at e d H esli n/ L e wis A cti o n, a j ur y or d er e d J o n es

t o p a y $ 4 5. 1 milli o n i n p u niti v e d a m a g es i n a d diti o n t o $ 4. 1 milli o n i n c o m p e ns at or y d a m a g es

alr e a d y a w ar d e d. T h e P o z n er/ D e L a R os a A cti o n m a y pr o c e e d t o tri al t his y e ar.




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R es p e ctf ull y s u b mitt e d,


 C AI N & S K A R N U LI S P L L C                                      K O S K O F F K O S K O F F & BI E D E R P C
 B y: /s/ R y a n E. C h a p pl e                                       Ali n or C. St erli n g ( a d mitt e d pr o h a c vi c e )
 R y a n E. C h a p pl e                                                3 5 0 F airfi el d A v e n u e
 St at e B ar N o. 2 4 0 3 6 3 5 4                                      Bri d g e p ort, C o n n e cti c ut 0 6 6 0 4
 3 0 3 C ol or a d o Str e et, S uit e 2 8 5 0                          T el e p h o n e: ( 2 0 3) 3 3 6- 4 4 2 1
 A usti n, T e x as 7 8 7 0 1
 T el e p h o n e: ( 5 1 2) 4 7 7- 5 0 0 0                              C o u ns el t o t h e S a n d y H o o k F a mili es Ot h er
 F a x: ( 5 1 2) 4 7 7- 5 0 1 1                                         T h a n Ri c h ar d M. C o a n, as C h a pt er 7 Tr ust e e
                                                                        f or t h e Est at e of Eri c a L aff ert y
 C o u ns el t o t h e S a n d y H o o k F a mili es




 P A U L, W EI S S, RI F KI N D,                                        Z EI S L E R & Z EI S L E R, P C
 W H A R T O N & G A R RI S O N L L P                                   Eri c H e n z y (a d mitt e d pr o h a c vi c e )
 K yl e J. Ki m pl er ( a d mitt e d pr o h a c vi c e )                1 0 Mi d dl e Str e et, 1 5 t h Fl o or
 C hrist o p h er H o p ki ns ( a d mitt e d pr o h a c vi c e )        Bri d g e p ort, C o n n e cti c ut 0 6 6 0 4
 D a ni el S. Si n nr ei c h ( a d mitt e d pr o h a c vi c e )         T el e p h o n e: ( 2 0 3) 3 6 8- 5 4 9 5
 D a ni el A. N e gl ess ( a d mitt e d pr o h a c vi c e )
 Bri a n a P. S h eri d a n ( a d mitt e d pr o h a c vi c e )          C o u ns el t o Ri c h ar d M. C o a n, as C h a pt er 7
 1 2 8 5 A v e n u e of t h e A m eri c as                              Tr ust e e f or t h e Est at e of Eri c a L aff ert y
 N e w Y or k, N e w Y or k 1 0 0 1 9- 6 0 6 4
 T el e p h o n e: ( 2 1 2) 3 7 3- 3 0 0 0
 F a x: ( 2 1 2) 7 5 7- 3 9 9 0

 C o u ns el t o t h e S a n d y H o o k F a mili es Ot h er
 T h a n Ri c h ar d M. C o a n, as C h a pt er 7 Tr ust e e
 f or t h e Est at e of Eri c a L aff ert y




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                                                C E R TI FI C A T E O F S E R VI C E

            I h er e b y c ertif y t h at a tr u e a n d c orr e ct c o p y of t h e f or e g oi n g i nstr u m e nt w as fil e d a n d s er v e d

o n all p ers o ns e ntitl e d t o r e c ei v e n oti c e vi a o p er ati o n of t his C o urt’s C M/ E C F s yst e m o n M a y 1 2,

2 0 2 3.


                                                                   /s/ R y a n E. C h a p pl e
                                                                   R y a n E. C h a p pl e
